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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

 

ASHLEY WHEELER and JERAH BREWSTER,
on Behalf of Themselves And All Other Employees Similarly STIPULATION OF
Situated, DISMISSAL

WITH PREJUDICE
Plaintiffs,

-y- 16-06825

WEGMANS FOOD MARKETS, INC.,

Defendant.

 

 

STIPULATION OF DISMISSAL WITH PREJUDICE

Pursuant to Fed. R. Civ. P. 41(a){1)(ii), the parties hereby stipulate to the
dismissal of all claims asserted in the above-captioned matter with prejudice and
without costs or attorneys’ fees to any party.

Dated: "P/S/ ___, 2017 pated: ‘/-A5 2017

 

 

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Attorneys for Plaintiffs Attorneys for Defendant Wegmans Food
Markets, Inc.
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SO ORDERED THIS DAY OF

TION] FRANK PAGER AGI, J

ChiefU.5S. Dispict Judg,

  

 

ABLE 525-5626.1

 
